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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

 WALTER REED, on behalf of himself
 and on behalf of all others similarly situated,

                         Plaintiff,


                v.                                   CASE NO. 8:17-CV-00199-JDW-CPT

 CRST VAN EXPEDITED, INC., a foreign
 for profit company,

                   Defendant.
 _______________________________________/

                PLAINTIFF’S NOTICE OF SUPPLEMENTAL AUTHORITY

        Plaintiff, Walter Reed, on his own behalf and on behalf of the putative classes he seeks to

 represent, hereby provides the Court Notice of Supplemental Authority and states:

        1.      Plaintiff’s Amended Motion for Class Certification (Dkt.97) and Defendant’s

 Response in Opposition to Plaintiff’s Amended Motion for Class Certification and Incorporated

 Memorandum of Law (Dkt.138) are currently pending before the Court. The Supplemental

 Authority (Exhibit “A,” attached hereto) specifically addresses jurisdictional arguments asserted

 by Defendant in Defendant’s Response in Opposition to Plaintiff’s Amended Motion for Class

 Certification and Incorporated Memorandum of Law (Dkt. 138, Pp. 18-19).

        2.      The Supplemental Authority is relevant to the Court’s jurisdiction over non-

 resident putative class members. Defendant posits the Court does not have jurisdiction over non-

 resident members of the putative classes pursuant to Bristol-Myers Squibb Co. v. Superior Court

 of Cal., San Francisco County, -- U.S --, 137 S.Ct. 1773 (2017). However, a sister Court in the

 Northern District of Georgia recently rejected similar arguments, also in the context of a class
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 action lawsuit pursuant to the Fair Credit Reporting Act, 15 U.S.C. §1681b(b)(3). Sanchez v.

 Launch Technical Workforce Solutions, LLC, 1:17-CV-01904-ELR, 2018 WL 942963 (N.D.Ga.,

 Atlanta Division, February 14, 2018). Importantly, the Sanchez court held Bristol-Myers does

 not apply to federal class action lawsuits, and thus the court had jurisdiction over non-resident

 class members.

                                             Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 23rd day of May, 2018, a copy of the foregoing was

 served electronically to the following:

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